            Case 1:19-vv-00871-UNJ Document 97 Filed 08/15/23 Page 1 of 5




           In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 19-871V
                                        Filed: July 21, 2023


 H.D.,                                                               Special Master Horner

                         Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                         Respondent.


Robert Joel Krakow, Law Office of Robert J. Krakow, P.C., New York, NY, for petitioner.
Voris Johnson, U.S. Department of Justice, Washington, DC, for respondent.

                                 ORDER ON MOTION TO REDACT 1


        On July 13, 2015, petitioner initiated this action by filing a claim under the
National Childhood Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012). On September
14, 2021, respondent filed a Rule 4 report, recommending against compensation. (ECF
No. 71). Petitioner filed a Motion for a Decision Dismissing her Petition on November 7,
2022. (ECF No. 80). On November 9, 2022, a brief decision issued dismissing the
petition. (ECF No. 81.) Petitioner now moves to redact that decision. For the reasons
discussed below, petitioner’s motion is GRANTED.
      I.     Legal Standard
      Vaccine Rule 18(b) effectuates the opportunity for objection contemplated by
Section 12(d)(4) of the Vaccine Act, which provides in relevant part that “[a] decision of

1 Because this document contains a reasoned explanation for the action taken in this case, it must be

made publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the document will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.



                                                        1
             Case 1:19-vv-00871-UNJ Document 97 Filed 08/15/23 Page 2 of 5




a special master or the court in a proceeding shall be disclosed, except that if the
decision is to include information…(ii) which are medical files and similar files the
disclosure of which would constitute a clearly unwarranted invasion of privacy, and if the
person who submitted such information objects to such information in the decision, the
decision shall be disclosed without such information.” § 300-aa-12(d)(4)(B). The U.S.
Court of Appeals for the Federal Circuit has not had occasion to interpret this section of
the Vaccine Act. There are, instead, two competing methods of interpretation endorsed
by different decisions in the lower courts. See Langland v. Sec’y of Health & Human
Servs., No. 07-36V, 2011 WL 802695 (Fed. Cl. Spec. Mstr. Feb. 3, 2011); W.C. v. Sec’y
of Health & Human Servs., 100 Fed. Cl. 440 (2011).

        In Langland, the Chief Special Master examined a redaction request pursuant to
Section 12(d)(4)(B) in the context of the common law traditions regarding redaction and
public access, the E-Government Act, and other provisions of the Vaccine Act favoring
public disclosure. 2011 WL 802695, at *6-8. The Chief Special Master concluded that
“the party seeking to seal a document faces a burden to show particularized harm
outweighing the public interest in disclosure. This common law background informs the
correct construction of the language in section 12(d)(4)(B)(ii), and militates against
routine redaction of all sensitive medical information from special masters’ decisions.”
Id. At *8. Upon review of the redaction request at issue, the Chief Special Master
concluded that the request was unsupported and only a redaction of the petitioner’s
minor child’s name to initials and redaction of the child’s birthdate was appropriate. Id.
At *11.

     However, the Chief Special Master also observed that:

        One may readily conceive of medical information in a vaccine case that
        might be redacted by a special master, upon receiving a proper motion in
        accordance with Vaccine Rule 18(b), as meeting the ‘clearly unwarranted’
        criterion. Facts involving sexual misconduct or dysfunction, family medical
        history not pertinent to the vaccinee’s claim, unrelated mental illness, or
        medical conditions inherently likely to bring opprobrium upon the sufferer,
        might well be redacted upon a proper motion. Such redaction decisions can
        only be reached on a case-by-case basis.

Id. at *9.

        Subsequently, in W.C., the Court of Federal Claims reviewed a redaction request
in the context of the Freedom of Information Act (FOIA), which the court observed to
employ language similar to Section 12(d)(4)(B) of the Vaccine Act. 100 Fed. Cl. 440.
The court focused on the idea that petitioner’s request “must be weighed against the
government’s interest in public disclosure.” Id. at 460-61. Focusing specifically on the
identity of the petitioner, the court observed that it is the petitioner’s medical history and

                                              2
             Case 1:19-vv-00871-UNJ Document 97 Filed 08/15/23 Page 3 of 5




adverse vaccine reaction, and not petitioner’s own specific identity, that the public has
an interest in seeing disclosed. Id.

       W.C. has been interpreted as providing a more lenient standard for redaction as
compared to Langland. See, e.g., K.L. v. Sec’y of Health & Human Servs., 123 Fed. Cl.
497, 507 (2015) (noting that the Special Master below “argued that even when a Special
Master follows the lenient standard for redaction set forth in W.C., requests for redaction
have been denied because they failed to substantiate the basis for the request”).
Nonetheless, special masters do not abuse their discretion by requiring petitioners to
affirmatively demonstrate that redaction is justified regardless of which approach is
preferred. Id. at 507-08 (finding that the special master’s requirement that petitioner
provide “sufficient cause to justify redaction” is not contrary to the Vaccine Act or prior
precedent and explaining that “[e]ach Special Master must review every case and
exercise his or her discretion, given the specific facts presented in that particular case.”)

        Some petitioners move for redaction of their case captions to initials based on
concerns about present and future employment relationships and opportunities. For
example, in Kelly v. Sec’y of Health and Human Servs., petitioner expressed concerns
about his relationship with his current employer and future opportunities due to being in
a “sensitive” profession that relies on the public’s trust. No. 16-1548V, Slip op. (Fed. Cl.
Spec. Mstr. Feb. 16, 2023)2. I denied his motion to redact after finding no professional
connection to vaccines specifically and no inflammatory or unusual allegations in the
petition. I concluded that “blanket fear” regarding association with the program does not
justify redaction and further indicated that “it is not the undersigned’s role to become
involved in the ordinary management of petitioner’s online presence.” Id. at 5.

        However, I also previously found that redaction to initials was justified based on
future employment concerns when other facts were also present. Namely, the
petitioner’s identity had initially been protected because she was a minor at the time of
filing and the nature of the condition itself (narcolepsy) and her early life stage appeared
especially likely to hamper future prospects. A.T. v. Sec’y of Health & Human Servs.,
No. 16-393V, 2022 WL 819583 at *2 (Fed. Cl. Spec. Mstr. Jan. 13, 2022). See also C.F.
v. Sec’y of Health and Human Servs., No. 15-731V, 2023 WL 2583513 (Fed. Cl. Spec.
Mstr. Feb. 24, 2023) (granting motion to redact based on similarity to A.T. as well as
discussion within the decision of mental health care).

        Other Special Masters have been willing to grant motions to redact where a
petitioner expressed concern that disclosure of their medical information would lead to
fewer opportunities for career growth due to perceived health limitations that would
otherwise remain private. See E.M. v. Sec’y of Health and Human Servs., No. 14-753V,



2
    https://www.govinfo.gov/content/pkg/USCOURTS-cofc-1_16-vv-01548/pdf/USCOURTS-cofc-1_16-vv-01548-1.pdf

                                                     3
            Case 1:19-vv-00871-UNJ Document 97 Filed 08/15/23 Page 4 of 5




2021 WL 3702229 (Fed. Cl. Spec. Mstr. Aug. 6, 2021); A.F. v. Sec’y of Health and
Human Servs., No. 19-0446V, 2023 WL 2387810 (Fed. Cl. Spec. Mstr. Mar. 7, 2023).


   II.       Party Contentions
       In her motion, petitioner stresses the above-discussed W.C. standard for
redaction as well as E.M. v. Secretary of Health and Human Services which highlights
prior decisions granting redaction based on a potential adverse impact on employment.
E.M. v. Sec’y of Health and Human Services., No. 14-753V, 2021 WL 3702229, at *2.
Petitioner contends that disclosure of the medical information in the decision would be
“harmful to her education, her current employment, her anticipated career, and her
emotional state.” (ECF 82, p. 3.) Petitioner fears she will experience employment
discrimination if her medical history is disclosed. (Ex. 61 at 5.) She manages many
challenging symptoms daily, including fatiguing illnesses, and worries the disclosure of
these illnesses will “make it impossible” to advance in her fast-paced political career due
to discrimination. (Ex. 61 at 4.) Petitioner works “extremely hard” and wishes to keep
her medical history private to avoid damaging her career. (Ex. 61 at 3.) Petitioner is
also concerned that individuals in the workplace will form “unfair judgments” about her if
she is linked to the decision due to the “controversy surrounding vaccine injuries.” (Ex.
61 at 2-3.) She contends this would expose her to public ridicule and bullying because
the Gardasil vaccine is the “subject of heated controversy.” (Ex. 61 at 7.)

          Respondent did not file a response.
   III.      Discussion
        In this case petitioner’s explanation reasonably supports her redaction request
and respondent has offered no competing view of the relevant considerations.
Moreover, consistent with W.C., the requested redaction (only the caption) will not
interfere with disclosure of the medical information underlying the dismissal decision.
Petitioner indicates that she works in a challenging, fast-paced field that requires her to
work “extremely hard” and this is likely to be viewed as incompatible with the types of
fatiguing illness she has alleged. (Ex. 61 at 3.) I have previously held that concerns
about employment can justify redaction in some circumstances, especially when the
nature of the illness is germane. See A.T. No. 16-393V, 2022 WL 819583 (Fed. Cl.
Spec. Mstr. Jan. 13, 2022) (granting redaction where petitioner, inter alia, persuasively
explained that “given her age, life stage, and the nature of her medical condition at
issue, disclosure of her condition is especially likely to hamper her future prospects.”)
Although the details of petitioner’s medical history are not discussed in the decision
dismissing the case, the decision identifies conditions that are obviously fatiguing and
generally chronic.

       I do stress that petitioner’s argument that her association with the program could
hinder her career is, alone, not enough to justify redaction. Redaction is not appropriate

                                                4
         Case 1:19-vv-00871-UNJ Document 97 Filed 08/15/23 Page 5 of 5




where petitioner requests redaction on the grounds that mere association with the
program will adversely impact their career and relationships. Compare E.M. v. Sec’y of
Health and Human Servs., No. 14-753V, 2021 WL 3702229 (Fed. Cl. Spec. Mstr. Aug.
6, 2021) (granting redaction where petitioner expresses concern public disclosure of
medical condition would affect her ability to retain clients given the “rigorous” demands
of her position) with Kelly v. Sec’y of Health and Human Servs., No. 16-1548V, Slip op.
(Fed. Cl. Spec. Mstr. Feb. 16, 2023) (denying redaction where petitioner has a
“sensitive” profession that could be impacted by his association with the program).
Furthermore, “it is not the undersigned’s role to become involved in the ordinary
management of petitioner’s online presence.” Kelly, No. 16-1548V, at 5.

        Accordingly, petitioner’s motion is GRANTED. All references to petitioner’s name
in the caption of the November, 9, 2022 decision will be redacted. Additionally, the Clerk
of the Court is hereby instructed to change the caption of this case to the caption above.

IT IS SO ORDERED.
                                                s/Daniel T. Horner
                                                Daniel T. Horner
                                                Special Master




                                            5
